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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

John Doe,                                      )
                                               )              Case No. 1:17-cv-00748
         Plaintiff,                            )
                                               )              Honorable Amy J. St. Eve
v.                                             )
                                               )
Columbia College Chicago, et al.,              )
                                               )
         Defendants.                           )


             MEMORANDUM IN OPPOSITION TO DEFENDANT JANE ROE’S
                   MOTION TO STRIKE JOHN DOE’S ANSWER
                    TO COUNTERCLAIM IN DOCKET NO. 53

I.       BACKGROUND INFORMATION

         Defendant/Counterclaimant Jane Roe’s Motion to Strike Plaintiff John Doe’s Answer to

Her Counterclaim in Docket No. 53 (Doc. No. 67) is without merit. As demonstrated below and

from a review of Plaintiff John Doe’s Answer to Defendant Jane Doe’s Counterclaim in Docket

53 (Doc. No. 58), he has complied with Rule 8 of the Federal Rules of Civil Procedure. If the Court

disagrees, Doe respectfully requests leave to amend his answer.

II.      ANALYSIS

      A. Legal Standard

         Federal Rule of Civil Procedure 12(f) controls motions to strike pleadings. This rule grants

the Court discretion to “strike from a pleading an insufficient defense or any redundant,

immaterial, impertinent, or scandalous matter.” The Court disfavors motions to strike that squander

judicial resources and do not expedite litigation. See Pavlik v. FDIC, No. 10 C 816, 2010 WL

3937621, *1 (N.D. Ill. Oct. 5, 2010) (internal citations omitted). The party moving to strike bears

the burden of demonstrating that “the challenged allegations are so unrelated to [her] claim as to



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be devoid of merit, unworthy of consideration, and unduly prejudicial.” Id. Prejudice results when

the challenged accusation confuses the issues or is so lengthy and complex that it places an undue

burden on the opposing party. Cumis Ins. Soc., Inc. v. Peters, 983 F. Supp. 787, 798 (N.D. Ill

1997). Here, Roe has failed to meet her burden demonstrating that the challenged allegations

should be stricken.

   B. The Challenged Portions of the Answer Comply with Fed. R. Civ. P. 8(b).

       Roe specifically argues that the answers to Paragraphs 1, 3, 6, 7, 8, 10, 12-17, 19, 26-27,

32, 34-36, 43 and 68 should be stricken because the answers do not comply with Rule 8(b).

Contrary to Roe’s argument, Doe’s answers to these allegations fully comply with Rule 8(b). A

review of Doe’s Answer (Doc. No. 58) demonstrates that, when responding to the allegations at

issue, Doe either admitted the portion that was true and denied the remaining allegations (id. at ¶¶

1, 3, 8, 10, 13, 15, 19, 32, 34-36, and 68) or admitted the portion that was true and denied the

remaining allegations as untrue or for lack of information or belief (id. at ¶¶ 6, 7, 12, 14, 16-17,

26, 27, and 43). Doe’s responses comply with the notice requirements contained in Fed. R. Civ. P.

8(b)(2)-(5). No more is required.

       Moreover, Doe’s responses are not “devoid of merit, unworthy of consideration, and

unduly prejudicial.” Pavlik, 2010 WL 3937621 at **2-3.           Doe responded to each detailed

allegation in good faith. There is no attempt to evade the requirements of the Federal Rules of Civil

Procedure. Between the detailed Second Amended Complaint and Counterclaim and Answer to

Roe’s Counterclaim, there is no doubt that Roe is on notice that (1) Doe denies he sexually

assaulted Roe or engaged in any nonconsensual sexual activity with her and (2) Doe and Roe

disagree about what transpired between the two of them on the night in question. Because Doe has




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not provided the answers that Roe wants does not mean that his responses are devoid of merit,

unworthy of consideration, or unduly prejudicial.

III.     CONCLUSION

         For the reasons stated herein, Plaintiff John Doe respectfully requests that the Court deny

Defendant/Counterclaimant Jane Roe’s Motion to Strike John Doe’s Answer to Her Counterclaim

in Docket No. 53 is without merit. Alternatively, Plaintiff John Doe requests leave to amend any

portions of the Amended Answer the Court deems insufficient.



                                              Respectfully submitted,

                                              Attorneys for John Doe

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                               CERTIFICATE OF SERVICE

     A copy of the foregoing was electronically filed with the Court and served via the
CM/ECF system and/or U.S. mail and/or email upon the following on February 13, 2018:

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                                                   /s/ Eric Rosenberg
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